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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA



ERIC SUBER and MARY LYNNE
FORREY-SUBER, on their own behalf and on
behalf of all others similarly situated,

                               Plaintiffs,
                                                           Case No. 2:21-cv-4750-GAM
       v.

LIBERTY MUTUAL INSURANCE GROUP,
INC., d/b/a Liberty Mutual Insurance; LIBERTY
MUTUAL INSURANCE COMPANY; SAFECO
 INSURANCE COMPANY OF AMERICA; and
LM GENERAL INSURANCE COMPANY,

                               Defendants.


                          NON-INSURING DEFENDANTS’
                    MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       Under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(2), Defendants Liberty Mutual

Group Inc.,1 Liberty Mutual Insurance Company, and Safeco Insurance Company of America

(“Non-Insuring Defendants”) move to dismiss Plaintiffs’ Complaint for lack of subject-matter

jurisdiction and lack of personal jurisdiction as set forth more fully in the accompanying

Memorandum of Law.


Dated: January 10, 2022                        /s/ Tiffany Powers, Esquire_
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1
  There is not a Liberty Mutual entity named “Liberty Mutual Insurance Group, Inc.” For purposes of this
motion the Non-Insuring Defendants assume Plaintiffs intended to name “Liberty Mutual Group Inc.” If
this assumption is incorrect, the Non-Insuring Defendants are happy to submit a supplemental motion and
brief on the issue of mis-naming entities.
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                           Attorneys for Defendants

                           Liberty Mutual Group Inc., Liberty Mutual
                           Insurance Company, Safeco Insurance Company of
                           America, and LM General Insurance Company




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                           Liberty Mutual Group Inc., Liberty Mutual
                           Insurance Company, Safeco Insurance Company of
                           America, and LM General Insurance Comp




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